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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Shawn Timothy Cermak,                               Case No. 18-cv-1267 (SRN/KMM)

               Plaintiff,

 v.                                                 MEMORANDUM OPINION
                                                  AND ORDER ADOPTING REPORT
 Host International,                               AND RECOMMENDATION OF
                                                       MAGISTRATE JUDGE
               Defendant.


Shawn Timothy Cermak, 721 Lake Susan Drive, Apartment 305, Chanhassen, MN
55317, pro se.

Joseph G. Schmitt and Pablo Orozco, Nilan Johnson Lewis PA, 120 South 6th Street,
Suite 400, Minneapolis, MN 55402, for Defendant.


SUSAN RICHARD NELSON, United States District Judge

       This case is before the Court on Plaintiff’s objections (“Obj.”) [Doc. No. 23] to

United States Magistrate Judge Katherine Menendez’s November 27, 2018, Report and

Recommendation (“R&R”) [Doc. No. 22]. Magistrate Judge Menendez recommended that

the Court dismiss Plaintiff’s complaint (“Complaint”) in part with prejudice, and in part

without prejudice [Doc. No. 1, Ex. 1]. (R&R at 1.) For the reasons set forth below, the

Court overrules Plaintiff’s Objection, adopts the R&R in full, and dismisses Plaintiff’s

Complaint in part with prejudice, and in part without prejudice.

I.     Background

       On April 16, 2018, Plaintiff originally filed his Complaint in Hennepin County

District Court. On May 7, 2018, the case was removed to this Court. [Doc. No. 1].
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       Plaintiff first claims that Defendant, Host International, violated the Americans

with Disabilities Act (“ADA”) by not making reasonable accommodations for Plaintiff at

work when it denied Plaintiff a spot in the maintenance department. (Compl. ¶ 1.)

Second, Plaintiff contends that Defendant failed to maintain equipment in compliance

with Occupational Safety and Health Administration (“OSHA”) standards, causing him

to be burned. (Id. ¶ 2.) Third, he argues that Defendant violated certain Minnesota laws or

regulations by improperly repairing a sink. (Id. ¶ 3.) Fourth, Plaintiff claims that

Defendant hired unqualified maintence staff to make repairs to refrigeration equipment.

(Id. ¶ 4.) And lastly, he contends that Defendant hired “unqualified supervisors . . . that

did not accommodate people with disabilities . . . .” (Id. ¶ 5.) Plaintiff seeks damages and

various forms of injunctive relief. (Id.)

       On May 14, 2018, Defendant moved to dismiss this matter under Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim. (Def.’s Mem. in Supp. of Mot. to

Dismiss [Doc. No. 7] In a thorough and well-reasoned R&R, Magistrate Judge Menendez

recommended that the Complaint be dismissed, in part with prejudice, and in part without

prejudice. (R&R at 1.) On December 12, 2018, Plaintiff filed timely objections to

Magistrate Judge Menendez’s R&R. (Obj. at 1.)

       Plaintiff raises three objections to the R&R. First, he argues that the Court

disregarded evidence that he exhausted the administrative process prior to asserting his

ADA claim. (Obj. at 1.) Second, Plaintiff maintains that Defendant did not respond to his

“charge,” or Complaint. (Id.) And finally, he claims that Defendant violated a wage-and-

hour regulation. (Id.)

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II.    Discussion

       A.      Standard of Review

       This Court reviews de novo any portion of the magistrate judge’s opinion to which

specific objections are made, and “may accept, reject, or modify, in whole or in part, the

findings or recommendations” contained in that opinion. 28 U.S.C. § 636(b)(1)(C); see

also Fed. R. Civ. P. 72(b); D. Minn. L.R. 72.2(b)(3).

       B.      Plaintiff’s Objections

       First, Plaintiff contends that the Court disregarded the evidence that he presented

regarding his exhaustion of the administrative process. (Obj. at 1.) However, Plaintiff has

failed to allege that he exhausted his administrative remedies before filing this action. To

exhaust the administrative process before filing an ADA claim, Plaintiff was required to

timely file a charge of discrimination with the Equal Employment Opportunity

Commission (“EEOC”) and receive a right-to-sue letter. Faibisch v. Univ. of Minn., 304

F.3d 797, 803 (8th Cir. 2013). Plaintiff provided no evidence nor did he allege in his

Complaint that he filed a charge with the EEOC or received a right-to-sue letter. As such,

Plaintiff’s first objection is overruled.

       Second, Plaintiff objects to the magistrate judge’s recommended dismissal of his

Complaint because Defendant did not respond to his “charge.” (Obj. at 1.) It appears that

Plaintiff is suggesting that Defendant failed to answer his Complaint. However,

Defendant removed the case to federal court and then filed this Motion to Dismiss in lieu

of an Answer, which it is entitled to do under Rule 12 of the Federal Rules of Civil

Procedure. Thus, Plaintiff’s second objection is overruled.

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       Lastly, Plaintiff objects to the magistrate judge’s recommended dismissal of his

Complaint because he now alleges that Defendant has violated a wage-and-hour

regulation. (Obj. at 1.) But Plaintiff’s Complaint does not assert any wage-and-hour

violation nor does Plaintiff attempt to explain how Defendant’s calculation of overtime

pay is improper. Therefore, Plaintiff’s third objection is overruled.

IV.    Conclusion

       Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY ORDERED that:

       1. Plaintiff Cermak’s Objection [Doc. No. 23] is OVERRULED;

       2. Magistrate Judge Menendez’s R&R [Doc. No. 22] is ADOPTED in its entirety;

       3. Defendant’s Motion to Dismiss [Doc. No. 5] is GRANTED; and

       4. Plaintiff’s Complaint [Doc. No. 1, Ex. 1] is DISMISSED IN PART WITH

          PREJUDICE as to his ADA and federal regulatory claims, AND IN PART

          WITHOUT PREJUDICE as to his claims under Minnesota law.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: January 18, 2019                           s/Susan Richard Nelson
                                                  SUSAN RICHARD NELSON
                                                  United States District Judge




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